     Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 1 of 21


 1 John P. Aldrich, Esq.
   Nevada Bar No. 6877
 2 Catherine Hernandez, Esq.
   Nevada Bar No. 8410
 3
   ALDRICH LAW FIRM, LTD.
 4 7866 West Sahara Avenue
   Las Vegas, NV 89117
 5 Tel (702) 853-5490
   Fax (702) 227-1975
 6 jaldrich@aldrichlawfirm.com

 7
      Ashish Mahendru (pro hac to be submitted)
 8    Darren A. Braun (pro hac to be submitted)
      MAHENDRU, P.C.
 9    639 Heights Blvd.
      Houston, Texas 77007
10    Telephone: 713-571-1519
11    Facsimile: 713-651-0776
      amahendru@thelitigationgroup.com
12    dbraun@thelitigationgroup.com

13 Attorneys for Plaintiff

14
                             IN THE UNITED STATES DISTRICT COURT
15
                                  FOR THE DISTRICT OF NEVADA
16
       RB PRODUCTS, INC.,
17                                                    Civil Action No. ______________
18                       Plaintiff,
                                                      COMPLAINT
19     v.

20     RYZE CAPITAL, L.L.C.; ENCORE DEC, JURY TRIAL DEMANDED
       L.L.C.; RYZE RENEWABLES RENO,
21     L.L.C.; RYZE RENEWABLES, L.L.C.;
22     MICHAEL BROWN; CHRIS DANCY; RESC,
       L.L.C.; RYZE RENEWABLES LAS VEGAS,
23     L.L.C.; MATT PEARSON; AND RANDY
       SOULE,
24
                       Defendants.
25

26

27           Plaintiff RB Products, Inc. (“RB Products”) files this Complaint against Ryze Capital,

28 L.L.C., Encore DEC, L.L.C., Ryze Renewables, L.L.C., Ryze Renewables Reno, L.L.C., RESC,


                                                -1-
                                             COMPLAINT
     Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 2 of 21


 1 L.L.C., Michael Brown, Chris Dancy, Ryze Renewables Las Vegas, L.L.C., Matt Pearson, and

 2 Randy Soule, and allege as follows:

 3
                                                     I.
 4
                                      PRELIMINARY MATTERS
 5
             1.     RB Products, Inc. is a Texas corporation with its principal place of business in
 6
      Harris County, Texas.
 7

 8           2.     Defendant Ryze Capital Partners, L.L.C. is a Wyoming limited liability company

 9 with its principal place of business in California. It may be served with process via its registered

10 agent, Wyoming Corporation Service, Inc., 1005 Country Club Ave, Cheyenne, WY 82001.

11
             3.     Defendant Encore DEC, L.L.C. is a Nevada limited liability company with its
12
      principal place of business in Nevada. It may be served with process via its registered agent,
13
      Maupin, Cox, & Legoy, P.C., 4785 Caughlin Parkway, Reno, NV 89520. Upon information and
14

15 belief, its sole member is Randy Soule.

16           4.     Defendant RESC, L.L.C. is a Nevada limited liability company with its principal

17 place of business in Nevada. It may be served with process via its registered agent, Randall

18 Soule, 16640 Wedge Parkway, Reno, NV 89511.

19
             5.     Defendant Ryze Renewables Las Vegas, L.L.C. is a Delaware limited liability
20
      company with its principal place of business in Nevada. It may be served with process via its
21
      registered agent, Cogency Global, Inc., at 321 W. Winnie Lane, #104, Carson City, NV 89703.
22

23 Upon information and belief, its sole member is Ryze Renewables, L.L.C.

24           6.     Defendant Ryze Renewables Reno, L.L.C. is a Delaware limited liability

25 company with its principal place of business in Nevada. It may be served with process via its

26
      registered agent, Cogency Global, Inc., at 321 W. Winnie Lane, #104, Carson City, NV 89703.
27
      Upon information and belief, its sole member is Ryze Renewables, L.L.C.
28


                                                 -2-
                                              COMPLAINT
     Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 3 of 21


 1           7.     Defendant Ryze Renewables, L.L.C. is a Delaware limited liability company with

 2 its principal place of business in Nevada. It may be served with process via its registered agent,

 3
      Cogency Global, Inc., at 321 W. Winnie Lane, #104, Carson City, NV 89703. Upon information
 4
      and belief, its members are Ryze Capital, L.L.C., and RESC, L.L.C.
 5
             8.     Randy Soule is an individual citizen of the State of Nevada and may be served
 6
      with process at 16640 Wedge Parkway, Reno, NV 89511.
 7

 8           9.     Matt Pearson, Chris Dancy, and Michael Brown are all individual citizens of

 9 California. They may be served with process at their place of employment, Ryze Capital

10 Partners, L.L.C., at 20 Pacifica, Suite 1010, Irvine, California 92618.

11
             10.    This Court has federal-question jurisdiction over this case because RB Products
12
      asserts a claim for relief under the Federal Defend Trade Secrets Act, 18 U.S.C. §1836. This
13
      Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C.
14

15 §1367(a).

16           11.    This Court has both general and specific personal jurisdiction over Ryze

17 Renewables, L.L.C., Ryze Renewables Reno, L.L.C., Ryze Renewables Las Vegas, L.L.C.,

18 Encore DEC, L.L.C., and RESC, L.L.C. because each of these entities has its principal place of

19
      business in Nevada, and because Plaintiff’s claims in this lawsuit arise out of these entities’
20
      contacts with Nevada.
21
             12.    This Court has general jurisdiction over Randy Soule because he is an individual
22

23 resident of Nevada.

24           13.    This Court has specific jurisdiction over Ryze Capital, Michael Brown, Matt

25 Pearson, and Chris Dancy because each of those Defendants has sufficient minimum contacts

26
      with Nevada and because Plaintiff’s claims in this lawsuit arise from those contracts. Pearson,
27
      Brown, and Dancy, all of whom are employees of Ryze Capital, traveled numerous times to
28
      Nevada in connection with the development of Ryze Renewables, Ryze Renewables Reno, and

                                                 -3-
                                              COMPLAINT
     Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 4 of 21


 1 Ryze Renewables Las Vegas, and made numerous communications to entities in Nevada that

 2 contained RB Products confidential and trade-secret information. Pearson is also the managing

 3
      director of Ryze Renewables Reno, L.L.C. and, upon information and belief, is also the
 4
      managing director of Ryze Renewables, L.L.C. and Ryze Renewables Las Vegas, L.L.C. Upon
 5
      information and belief, both Brown and Dancy are also principals of Ryze Renewables, L.L.C.,
 6
      Ryze Renewables Reno, L.L.C., and Ryze Renewables Las Vegas, L.L.C. As principals of these
 7

 8 entities, and as further established below, Brown, Dancy, and Pearson caused these entities to use

 9 RB Products trade-secret secret information in Nevada.

10           14.     RB Products requests a trial by jury on all issues and claims and pays the
11
      appropriate fee.
12
                                                      II.
13
                                                   FACTS
14

15           15.     RB Products is a Houston, Texas-area company that specializes in the processing,

16 trading, and distribution of petrochemicals, specialty chemicals, and other oil-related products.

17 RB Products also owns and operates specialized equipment – a Hydrogenation Unit – that

18 enables RB Products to hydrogenate hydrocarbons.

19
             16.     One of RB Products’ advertised specialties is the production of hydrogen-derived
20
      renewable diesel (“HDRD”), a “green” diesel fuel that meets the same standards as petroleum-
21
      based diesel but that is made with renewable feedstock such as soybean oil and distillers corn oil.
22

23 In 2014, RB Products underwent the rigorous process to become certified by the United States

24 Environmental Protection Agency (“EPA”) under CFR 79.13(g) and CFR 80 to manufacture,

25 process, and market renewable HDRD.

26
             17.     The production of HDRDs is a valuable business model because HDRDs provide
27
      manufacturers with three streams of revenue. First, like any other fuel, HDRDs can be sold
28
      directly to end-users or to other oil and gas companies for further blending. Second, HDRD

                                                   -4-
                                                COMPLAINT
     Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 5 of 21


 1 manufacturers – like other biodiesel manufacturers – receive 1.7 renewable identification

 2 numbers (“RINs”) 1 from the EPA for each gallon of HDRD produced. These valuable RINs can

 3
      then be sold to other oil and gas companies to enable those companies to meet their EPA-
 4
      mandated renewable-fuel quotas. Finally, the manufacture of HDRDs also generates tax credits
 5
      that, like RINs, can be sold to other entities.
 6
                 18.     HDRDs are also more valuable than traditional biodiesel fuels because HDRDs
 7

 8 are considered “drop in” diesel fuels – meaning, HDRDs are almost molecularly identical to

 9 regular diesel and can be utilized in place of it without modifications to existing equipment or

10 infrastructure. Biodiesel, on the other hand, is functionally similar – but not chemically similar –

11
      to regular diesel fuel, and may require modifications to equipment or infrastructure in order to be
12
      used.
13
                 19.     And unlike biodiesels – which have been around for many years – HDRDs are
14

15 still an emerging technology and the information concerning the manufacture of HDRDs,

16 including the process for qualifying for tax credits and RINs associated with HDRDs, is not

17 generally available or known to the public, and certainly was not generally available or known to

18 the public in the 2015/2016 timeframe.

19
      A.         Ryze Capital Hires RB Products as a Subject-Matter Expert Regarding Ryze
20               Capital’s Contemplated Investment into a Gas-to-Liquids Facility in Port Arthur,
                 Texas.
21
                 20.     In or around October/November 2015, RB Products was approached by Ryze
22

23 Capital, a California-based, private equity group that was looking to invest substantial money

24

25

26
      1
          The concept of RINs was created pursuant to the Renewable Fuel Standard Program, a program the EPA created in
27 response to the Energy Policy Act of 2005 that authorized the EPA to set annual quotas dictating what percentage of
      the total amount of motor fuels in the US must be represented by biofuel.
28


                                                          -5-
                                                       COMPLAINT
     Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 6 of 21


 1 into the construction of a new “gas-to-liquids” facility 2 in Port Arthur, Texas. Ryze Capital

 2 wanted RB Products to act as a Texas-based subject-matter expert to assist Ryze Capital in

 3
      performing due diligence for the investment, and also wanted RB Products to assist with
 4
      securing (i) the contractors that would build the facility as well as (ii) the necessary
 5
      supplier/customer contracts that would ultimately determine the success of the project.
 6
               21.      In November 2015, to facilitate the parties’ discussions regarding the gas-to-
 7

 8 liquids project, Ryze Capital and RB Products entered into a Mutual Non-Disclosure Agreement

 9 (the “Ryze-RB Confidentiality Agreement”) that protected the confidentiality of information

10 shared between the parties. The Ryze-RB Confidentiality Agreement required each party to

11
      “hold all Confidential Information in strict confidence and...not [to] disclose or use any
12
      Confidential Information except as permitted by this Agreement.” The Ryze-RB Confidentiality
13
      Agreement broadly defined “Confidential Information” as:
14

15             [A]ll information and any idea in whatever form, tangible or intangible, disclosed
               (whether previously or hereafter) to a Party or its Representatives (the “Receiving
16             Party”) by another Party or its Representatives (the “Disclosing Party”),
               pertaining in any manner to the business of the Disclosing Party or the Disclosing
17             Party’s Affiliates whether in written, oral, encoded, graphic, magnetic, electronic
               or in any other tangible or intangible form, whether of a technical, business or
18             other nature, and whether or not labeled as confidential by the Disclosing Party or
19             otherwise provided by the Disclosing Party. “Confidential Information” includes,
               without limitation, the following:        (a) schematics, techniques, employee
20             suggestions, development tools and processes, computer printouts, computer
               programs and software, source codes, object codes, algorithms, design drawings
21             and manuals, improvements, and “know how”; (b) information about costs,
               profits, marketing and sales, pricing of insurance policies, funding arrangements,
22
               collateral structuring to satisfy carrier requirements, client and contact lists,
23             contracts and other business relations with third parties, financial information,
               operational procedures, analytic techniques and processes; (c) the existence, status
24             and content of discussions between the Parties and the existence or terms and
               conditions of the Agreement; (d) plans for future development and new business
25             plans and product concepts; and (e) all documents, books, papers, drawings,
26

27    2
       A gas-to-liquids facility is a facility that transforms natural gas into liquid-fuel products, such as gasoline, diesel,
      and jet fuel.
28


                                                            -6-
                                                         COMPLAINT
     Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 7 of 21


 1               models, sketches, and other data of any kind and description, including electronic
                 data recorded or retrieved by any means, that have been or will be given to the
 2               Receiving Party by the Disclosing Party, as well as written or verbal instructions
                 or comments.
 3

 4 Importantly, the Ryze-RB Products Confidentiality Agreement did not limit the definition of

 5 confidential information to any particular subject matter – instead, all information and any idea

 6 relating to the parties’ businesses was to be kept confidential.

 7
                 22.      After several months of due diligence, and due to issues with the scalability of
 8
      Ryze Capital’s licensed technology, Ryze Capital determined that the gas-to-liquids facility in
 9
      Port Arthur would not be profitable and decided not to pursue the investment. Ryze Capital
10

11 instructed RB Products to be on the lookout for other potential opportunities for Ryze Capital

12 and RB Products to partner up.

13 B.            RB Products Introduces Ryze Capital to a New Investment Opportunity in Jackson,
                 Mississippi.
14

15               23.      In tandem with the discussion surrounding the Port Arthur project and with the

16 parties’ Confidentiality Agreement still in place, RB Products informed Ryze Capital of another

17 investment opportunity that RB Products knew of. Jaxon Energy, L.L.C. (“Jaxon Energy”)

18 owned a hydrotreater refinery in Jackson, Mississippi (the “Jaxon Energy Facility”) that it

19
      wanted to re-purpose into a more lucrative facility – perhaps a polyalphaolephin-manufacturing 3
20
      facility – but for which it lacked the necessary capital. Jaxon Energy was partially owned by
21
      Randy Soule (“Soule”).               Soule is also the owner of Encore, a company that constructs
22

23 petrochemical facilities. RB Products had learned of the investment opportunity through Ed

24 Smith, one of RB Products’ biggest customers, who was the other part-owner of Jaxon Energy.

25

26

27
      3
          Polyalphaolephin is a synthetic oil used in automotive and industrial lubricants.
28


                                                              -7-
                                                           COMPLAINT
     Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 8 of 21


 1              24.      Ryze Capital was extremely interested in the deal and, based on RB Products’

 2 introduction, began performing due diligence regarding a potential investment into the Jaxon

 3
      Energy Facility.
 4
                25.      During the parties’ due diligence in or around January 2016, and due to its
 5
      specialization in HDRDs, RB Products advocated that the parties should re-purpose the Jaxon
 6
      Energy Facility into an HDRD-manufacturing plant instead of a polyalphaolephin-manufacturing
 7

 8 facility.        RB Products carefully explained to Soule and to Ryze Capital the process for

 9 manufacturing HDRDs, the process-technology information, the tax credits and RIN credits

10 associated with HDRDs, as well as financial pro formas that RB Products had created regarding

11
      the operation of the Jaxon Energy Facility as an HDRD-manufacturing facility. These financial
12
      pro formas – which were based on RB Products’ years of experience in the renewable-fuels
13
      industry – included a compilation of historical HDRD-relevant data, such as RIN values,
14

15 available tax credits, fixed costs and variable costs associated with HDRD manufacturing,

16 including feedstock cost, and HDRD-sale value, none of which is generally available to the

17 public.         RB Products introduced Soule and Ryze Capital to Process Dynamics, 4 a small
18 Arkansas-based company that (i) could conduct small-scale pilot studies to develop operating

19
      parameters for large-scale HDRD manufacturing, and (ii) owned a patented process that could be
20
      used to manufacture HDRDs.              From its prior dealings with Process Dynamics, RB Products
21
      knew that Process Dynamics was willing to license its intellectual property at a substantially
22

23

24

25

26
      4
          Process Dynamics did not publicly advertise or market these services. Until that point, Process Dynamics had
27 been primarily engaged in research development and would only license its intellectual property to large
      petrochemical companies like DuPont with whom it had previously done so.
28


                                                         -8-
                                                      COMPLAINT
     Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 9 of 21


 1 lower cost (nearly 50% lower) than other existing process-technology licensors in the

 2 petrochemical industry, such as Honeywell UOP and Haldor Tapsoe. 5

 3
              26.      Eventually, both Soule and Ryze Capital agreed with RB Products, and decided
 4
      that the Jaxon Energy Facility should be re-purposed into an HDRD-manufacturing facility.
 5
      C.      RB Products, Ryze Capital, and Soule Agree to form “NewCo,” a Large Scale
 6            HDRD Manufacturing Facility in Reno, Nevada.
 7
              27.      In early 2016, and in parallel with the parties’ discussions regarding the Jaxon
 8
      Energy Facility, 6 Ryze Capital, RB Products, and Soule also began discussing the re-purposing
 9
      of a petrochemical terminal located in Reno, Nevada (the “Reno Facility”). Provided that they
10

11 could obtain the necessary capital, the parties could re-purpose that facility – which was already

12 owned by Soule’s company Encore – into the United States’ largest HDRD-manufacturing

13 facility. The parties agreed that the Reno Facility would have three participants: (i) Ryze

14 Capital, which would procure the required financing; (ii) RB Products, which would provide the

15
      industry expertise and know-how regarding the manufacture of HDRDs, the California Low
16
      Carbon Fuel Standard program, and the generation of RINs and tax credits; and (iii)
17
      Encore/Soule, which would supply the project site and construct the processing facility necessary
18

19 to manufacture the HDRDs.                The parties also reached agreements in early February 2016

20 regarding their ownership percentages in “NewCo,” which, at that point, had not yet been

21 formed.        According to the parties’ agreement, Ryze would own 10% of NewCo, and RB
22
      Products and Encore would each own 45% of NewCo. On February 8, 2016, Soule emailed the
23
      parties an organizational chart confirming the parties’ agreement. This organizational chart also
24

25    5
        Ultimately, to convert feedstock into HDRD, a manufacturer would need to utilize a process that, absent a license,
      would invariably infringe upon a patent. Thus, it would be necessary for an HDRD manufacturer to obtain a license
26    to use intellectual property at the outset.
27    6
        The parties’ discussions concerning the Jaxon Energy Facility and the Reno Facility overlapped significantly, and
      all information shared furthered both projects.
28


                                                          -9-
                                                       COMPLAINT
  Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 10 of 21


 1 confirmed that Ray Rice, Jr. – RB Products’ owner and president – would act as the CEO for

 2 NewCo.

 3
            28.     Through the first half of 2016, RB Products devoted hundreds of man-hours to
 4
     providing the joint venture with the information necessary to carry out what would eventually
 5
     become Ryze Renewable’s HDRD-manufacturing business. RB Products shared the intimate
 6
     details of the HDRD manufacturing process and business model, including, but not limited to: (i)
 7

 8 process for manufacturing HDRDs from feedstock oil, including the necessary equipment,

 9 facility layout, and operating parameters; (ii) the process for generating RINs and tax credits

10 based on the manufacturing of HDRD and compliance with the California Low Carbon Fuel

11
     Standard program; (iii) the business model for marketing those RINs to other entities that are
12
     required to buy and retire RINs; and (iv) the target suppliers and customers for HDRDs. For
13
     example, RB Products disclosed to Ryze Capital and Encore/Soule the “pathway” for producing
14

15 HDRDs that complied with California’s Low Carbon Fuel Standard, including the required feed

16 stock, feed stock process, supply location, mode of transportation of HDRDs to California, and

17 type of processing plant. RB Products also explained the need for NewCo to utilize a special

18 variant of “distiller’s corn oil” for use as feedstock for the HDRDs. The detailed information

19
     that RB Products shared is not in the public domain, nor is it readily ascertainable.
20
            29.     Based on the detailed, confidential, and proprietary information that RB Products
21
     supplied, Ryze developed a confidential information memorandum (“Confidential Information
22

23 Memorandum”) that Ryze used as a prospectus to procure $80 million in long-term debt

24 financing from lenders. The Confidential Information Memorandum – which was marked on

25 each page with the work “confidential” – contained detailed information regarding the HDRD

26
     manufacturing process, including the “process flow,” the economics associated with the
27
     manufacture of HDRDs, and the identity of target suppliers and customers for the company’s
28
     HDRD product. The Confidential Information Memorandum also included several pages of

                                                 - 10 -
                                               COMPLAINT
  Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 11 of 21


 1 detailed pro formas that were based on the financial pro formas that RB Products had previously

 2 supplied to Ryze and Encore/Soule.

 3
            30.    Additionally, the Confidential Information Memorandum confirmed the parties’
 4
     agreement as to the ownership of Newco, and stated Ryze Renewables, L.L.C., the chosen name
 5
     of NewCo, is “[a] project by Ryze Capital [and] RB Products,” and further stated that “Ryze
 6
     Capital Partners, LLC and RB Products, Inc. have formed Ryze Renewables, L.L.C.”
 7

 8 (emphasis added).

 9          31.    Throughout February, March, and April 2016, RB Products continued feeding
10 Ryze and Soule with the vital, trade-secret information necessary to get NewCo up, running, and

11
     funded. During this time, RB Products continued refining the Confidential Information
12
     Memorandum with additional, detailed information concerning the HDRD manufacturing
13
     process, RIN program, and industry. At its own expense, RB Products also roped in Weaver, a
14

15 third-party consulting firm, to provide some additional insight into specific questions that Ryze

16 Capital had regarding the manufacture of HDRDs.

17          32.    Additionally, in April 2016, Ryze Capital – to make NewCo more appealing for
18 debt lenders – sought and obtained insurance to protect NewCo and its lenders in the event that

19
     subsequent legislation eliminated or negatively affected the RIN market or IRS tax credits for
20
     renewable-fuel businesses. Just like always, and to secure the insurance, Ryze Capital used RB
21
     Products as the subject-matter expert regarding the RIN generation, NewCo’s qualification for
22

23 RIN generation, and the circumstances in which legislation or political events would negatively

24 impact RIN credits such that an insurer would be required to pay a claim. Ryze Capital – based

25 on the information shared by RB Products – successfully procured the insurance.

26
            33.    RB Products also continued introducing Ryze Capital and Soule to potential
27
     customers and clients, including POET, a supplier of “distiller’s corn oil” that would act as the
28
     feedstock that NewCo would convert into HDRDs. Indeed, POET even executed a non-binding

                                                - 11 -
                                              COMPLAINT
  Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 12 of 21


 1 letter of intent with RB Products for the supply of 2,000 barrels of distiller’s corn oil to the Reno

 2 Facility.

 3
            34.     Around June 2016, Ryze Capital – due mainly to RB Products – had the necessary
 4
     information and tools to acquire the $80 million in debt financing required to re-purpose the
 5
     Reno Facility. Ryze and Encore/Soule represented to RB Products that the venture was now “on
 6
     hold” until it could secure financing.
 7

 8 D.       Ryze and Encore/Soule Secretly Cut RB Products Out of NewCo.

 9          35.     Months went by – and then even a year – and both Ryze and Encore/Soule
10 continued to tell RB Products that they had still been unable to secure funding and that the

11
     project was still on hold.
12
            36.     Both Ryze and Encore/Soule were actually lying to RB Products. In fact, in June
13
     2016 – the same time that Ryze was telling RB Products that the venture was still trying to
14

15 procure financing – Ryze and Encore/Soule decided that they no longer needed RB Products and

16 decided to pursue Ryze Renewables, L.L.C. on their own.

17          37.     Upon information and belief, in or around early summer 2016, Ryze and
18 Encore/Soule took the Confidential Information Memorandum, removed any reference to RB

19
     Products or Ray Rice, RB’s principal, and began shopping for financing. In August 2016, using
20
     RB Products’ information, Ryze and Encore/Soule obtained an $84 million loan from the Greater
21
     Nevada Credit Union for Ryze Renewables, which was backed by a $67.2 million guarantee
22

23 from the United States Department of Agriculture. Ryze Capital and Encore/Soule, without

24 telling RB Products, also officially formed Ryze Renewables, L.L.C. in September 2016.

25          38.     One year later, in August 2017, RB Products – much to its shock and surprise –
26
     read an article on BioFuels Digest concerning Ryze Renewables’ procurement of the $84 million
27
     loan to construct the HDRD facility. That same month, Biofuels Digest also wrote an article
28
     exclaiming “amaz[ment]” that Ryze Renewables had – through Ryze Capital and Encore/Soule –

                                                - 12 -
                                              COMPLAINT
  Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 13 of 21


 1 publicly filed confidential information concerning the manufacture of HDRDs that had eluded

 2 participants in the biofuel industry for years. When RB Products emailed Soule about the article,

 3
     Soule feigned ignorance and claimed that: “the only thing true is [that the project is] all in the
 4
     planning stages and may or may never happen.” Of course, as is now apparent, Soule was
 5
     clearly lying: at that time, Ryze Renewables had already begun construction of the Reno 7
 6
     Facility using the $84 million loan it obtained from the Greater Nevada Credit Union. According
 7

 8 to its website, Ryze Renewables is also in the process of constructing a Las Vegas facility that

 9 also manufactures HDRDs, ostensibly using the same funds and information that it used to

10 construct the Reno Facility. 8

11
                                                          III.
12
                                       CLAIMS AGAINST DEFENDANT
13
                                          FIRST CLAIM
14       (Misappropriation of Trade Secrets under Federal Defendant Trade Secrets Act and
15                      Uniform Trade Secrets Act, Against All Defendants)

16           39.      RB Products incorporates the above factual allegations by reference herein.

17           40.      This claim arises under the Defend Trade Secrets Acts “DTSA,” 18 U.S.C.
18 §1836(b) and applicable state Uniform Trade Secrets Act.

19
             41.      RB Products has numerous, valuable trade-secrets relating to the manufacture of
20
     HDRDs. These trade secrets include, but are not limited to, the process by which HDRDs are
21
     manufactured, the materials needed for the manufacture of HDRDs, the process by which to earn
22

23

24   7
      According to an organizational chart submitted to Nevada’s governmental agency (which was then published in the
     BioFuel Digest article, Ryze Capital and “RESC, L.L.C.”—a company owned and controlled by Randy Soule—are
25   50%/50% owners of “Ryze Renewables, L.L.C.,” which in turn is the 100% owner of Ryze Renewables Reno,
     L.L.C. Upon information and belief, Ryze Renewables, L.L.C. is also the 100% owner of Ryze Renewables Las
26   Vegas, L.L.C.
27   8
       https://www.ryzerenewables.com/facilities.html (stating that Ryze Renewables has two locations: one in Reno,
     and one in Las Vegas).
28


                                                      - 13 -
                                                    COMPLAINT
  Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 14 of 21


 1 RINs and tax credits from the manufacture of HDRDs, methods of obtaining EPA certification,

 2 the licensing necessary for the intellectual property for the HDRD manufacturing, financials and

 3
     pro formas concerning the manufacturing of HDRDs, and the identity of potential customers and
 4
     suppliers for HDRD businesses.
 5
            42.    HDRDs are a nascent business in the United States and RB Products’ trade-secret
 6
     information is not generally known to, and not readily ascertainable through, proper means in the
 7

 8 public domain. Indeed, as published in BioFuels Digests, participants in the biofuel industry

 9 “have been clamoring for years to have an intimate look at how [HDRD] projects are described,

10 costed, financed, and detailed for public authorities...this information [concerning Ryze

11
     Renewables, L.L.C.] formed a goldmine of valuable information for [Biofuel Digest] readers
12
     worldwide.”    This article was describing the information that RB Products disclosed to
13
     Defendants regarding the manufacture of HDRDs. Indeed, the fact that Ryze and Encore/Soule
14

15 agreed to give RB Products 45% ownership of Ryze Renewables, L.L.C. demonstrates just how

16 vital RB Products’ information was.

17          43.    Even Defendants acknowledged the proprietary and confidential nature of the
18 information concerning Ryze Renewables.            Not only was the Confidential Information
19
     Memorandum clearly marked “confidential,” but Ryze Capital wrote to the Nevada’s Governor’s
20
     Office of Economic Development in a September 9, 2016 letter and requested that all of the
21
     information submitted to the government concerning Ryze Renewables “be kept confidential.”
22

23          44.    Defendants misappropriated RB Products’ trade secrets by improper means by

24 using its trade-secret information to (i) obtain nearly $100 million in financing for Ryze

25 Renewables, L.L.C., and (ii) to construct and operate more than one HDRD manufacturing

26
     facility. Further, Defendants misappropriated RB Products’ trade secrets because they knew that
27
     RB Products had disclosed that information under circumstances giving rise to a duty to maintain
28


                                                - 14 -
                                              COMPLAINT
  Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 15 of 21


 1 the secrecy of the trade secrets – the furtherance of the parties’ collective participation in Ryze

 2 Renewables, L.L.C.

 3
               45.   As a result of Defendants’ joint and several wrongful conduct, RB Products has
 4
     been damaged.      Defendants’ conduct was willful and malicious, entitling RB Products to
 5
     exemplary damages.
 6
               46.   Defendants’ conduct has caused irreparable harm to RB Products, and such harm
 7

 8 cannot be adequately compensated for in damages alone. RB Products, therefore, seeks a

 9 preliminary and permanent injunction.

10             47.   RB Products is further entitled to its attorneys’ fees in the prosecution of this
11
     matter.
12
                                          SECOND CLAIM
13                           (Breach of Contract Against Ryze and Encore)
14             48.   RB Products incorporates the above factual allegations by reference herein.
15
               49.   RB Products, Ryze, and Encore had an agreement that RB Products would own
16
     45% of “Newco,” which was eventually formed as Ryze Renewables, L.L.C.
17
               50.   Ryze and Encore breached the parties’ agreement by cutting RB Products out of
18

19 NewCo’s ownership, and instead distributing RB Products’ ownership to themselves.

20             51.   As a result of Defendants’ breach, RB Products has been damaged.

21             52.   Because RB Products’ ownership interest in “Newco” is unique and cannot be
22
     adequately compensated for in damages alone, RB Products has suffered, and continues to suffer,
23
     irreparable harm, entitling it to preliminary and permanent injunctive relief.
24
               53.   Additionally, RB Products had entered into written confidentiality agreements
25
     with Ryze, pursuant to which Ryze was obligated to maintain the secrecy of RB Products’
26

27 information.

28


                                                 - 15 -
                                               COMPLAINT
  Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 16 of 21


 1          54.    Ryze breached its obligations under the written confidentiality agreement by

 2 taking and using RB Products’ trade-secret information despite secretly cutting RB Products out

 3
     of any ownership in Ryze Renewables, L.L.C.
 4
            55.    RB Products is entitled to its attorney’s fees in connection with this claim.
 5
                                          THIRD CLAIM
 6                             (Fraud Against Ryze, Encore, and Soule)
 7
            56.    RB Products incorporates the above factual allegations by reference herein.
 8
            57.    Upon information and belief, at the time that Defendants promised to give RB
 9
     Products a 45% ownership interest in Ryze Renewables, L.L.C, Defendants had no intention to
10

11 perform that promise, thereby constituting an actionable misrepresentation.

12          58.    Defendants’ lack of intention to perform at the time they made their promise is

13 established by their conduct. Only months after Defendants promised to give RB Products a

14 45% interest in Ryze Renewables – and only days after RB Products had finished providing the

15
     venture with vital information needed to obtain financing – Defendants, in June 2016, took the
16
     Confidential Information Memorandum, stripped out RB Products’ name, and began seeking
17
     financing. Meanwhile, Defendants purposely misled RB Products by telling RB Products that
18

19 the project was on “hold” until financing could be obtained, even though the funding had already

20 been obtained. Indeed, even in June 2017 – nearly a year after Defendants successfully obtained

21 over $80 million in funding for Ryze Renewables, L.L.C. – Defendant Soule falsely represented

22
     to RB Products that the project was still in the “planning stages” and may “never happen.”
23
            59.    The timing of Defendants’ actions in cutting RB Products out of Ryze
24
     Renewables, L.L.C., and in lying to RB Products about the project being “on hold” while
25
     actively moving forward with seeking and obtaining financing, establishes that Defendants
26

27 always planned to cut RB Products out of the project after bleeding it dry for its trade secrets,

28 subject-matter expertise, and industry knowledge and contacts.


                                                - 16 -
                                              COMPLAINT
  Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 17 of 21


 1          60.    Defendants made their false representations concerning their lack of intention to

 2 perform in order to induce RB Products to provide its trade secrets, subject-matter expertise, and

 3
     industry knowledge and contacts in furtherance of Ryze Renewables, L.L.C. RB Products in fact
 4
     justifiably and reasonably relied on Defendants’ representations, as RB Products never would
 5
     have shared all of its information had it known that Defendants were going to cut it out of Ryze
 6
     Renewables, L.L.C. just months later.
 7

 8          61.    As a result of Defendants’ fraud, RB Products has been damaged in the amount of

 9 its 45% interest that it was promised in Ryze Renewables, L.L.C. and/or any other entities

10 Defendants formed utilizing RB Products’ trade secrets.

11
                                          FOURTH CLAIM
12                       (Breach of Fiduciary Duty Against Ryze and Encore)

13          62.    RB Products incorporates the above factual allegations by reference herein.
14          63.    RB Products, Encore, and Ryze Capital entered into a joint venture with regard to
15
     the formation and operation of Ryze Renewables, L.L.C.           Because the parties reached
16
     agreements concerning their ownership percentages in Ryze Renewables – including an
17
     agreement that RB Products would own a 45% interest in Ryze Renewables – the parties
18

19 necessarily came to an agreement concerning the sharing of losses and profits with respect to

20 Ryze Renewables.

21          64.    As participants in the joint venture, Encore and Ryze Capital owed RB Products a
22
     fiduciary duty. By committing the wrongful actions described above – namely, in stealing RB
23
     Products’ trade secrets, defrauding RB Products, and in cutting RB Products out of Ryze
24
     Renewables, Defendants breached their fiduciary duties to RB Products.
25
            65.    As a result of Defendants’ breach of fiduciary duty, RB Products has been
26

27 damaged.

28 / / /


                                               - 17 -
                                             COMPLAINT
  Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 18 of 21


 1                                           FIFTH CLAIM
               (Participation in Breach of Fiduciary Duty and Fraud Against Defendants)
 2
              66.   Plaintiff incorporates the above factual allegations by reference herein.
 3

 4            67.   Ryze Capital, L.L.C., Encore DEC, L.L.C., Ryze Renewables, L.L.C., Ryze

 5 Renewables Reno, L.L.C., RESC, L.L.C., Michael Brown, Chris Dancy, Ryze Renewables Las

 6 Vegas, L.L.C., Matt Pearson, and Randy Soule aided, abetted, assisted, encouraged, and/or

 7
     directly participated in Ryze and Encore’s breaches of fiduciary duty and fraud.
 8
              68.   Michael Brown is the managing director and principal of Ryze.               He was
 9
     intimately involved the in the meetings, conversations, and emails that took place between RB
10

11 Products, Ryze, and Encore/Soule from late 2015 through summer 2016 during which the parties

12 reached agreements concerning their ownership in Ryze Renewables and in which RB Products

13 disclosed its trade secrets. As Ryze’s managing director, any decision that Ryze made to cut RB

14 Products out from the venture and to use its trade secrets must have been made, in part, by

15
     Brown.
16
              69.   Chris Dancy is the senior vice president of Ryze. Like Michael Brown, Dancy
17
     was intimately involved the in the meetings, conversations, and emails that took place between
18

19 RB Products, Ryze, and Encore/Soule from late 2015 through summer 2016 during which the

20 parties reached agreements concerning their ownership in Ryze Renewables and in which RB

21 Products disclosed its trade secrets. As senior vice president, any decision that Ryze made to cut

22
     RB Products out from the venture and to use its trade secrets must have been made, in part, by
23
     Dancy.
24
              70.   Matt Pearson is another managing director and principal of Ryze, and has become
25
     a manager of the Ryze Renewbles entities, including Ryze Renewables Las Vegas and Ryze
26

27 Renewables Reno. Like Brown and Dancy, Pearson was intimately involved the in the meetings,

28 conversations, and emails that took place between RB Products, Ryze, and Encore/Soule from


                                                 - 18 -
                                               COMPLAINT
  Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 19 of 21


 1 late 2015 through summer 2016 during which the parties reached agreements concerning their

 2 ownership in Ryze Renewables and in which RB Products disclosed its trade secrets.

 3
     Additionally, Pearson signed and certified the documents that Ryze submitted to the Nevada
 4
     government to obtain loan guarantees and other economic incentives from Nevada, including a
 5
     Sales and Tax Abatement, Modified Business Tax Abatement, Personal Property Tax
 6
     Abatement, and Recycling Real Property Abatement. Pearson also submitted the September 9,
 7

 8 2016 letter to the Nevada Governor’s Office of Economic Development requesting that the office

 9 keep Ryze Renewable’s materials “confidential.” As Ryze’s managing director, any decision

10 that Ryze made to cut RB Products out from the venture and to use its trade secrets must have

11
     been made, in part, by Pearson. Pearson was also the person that was actively using RB
12
     Products’ information in submissions to the Nevada government.
13
            71.     By their wrongful actions, these Defendants have caused damages to RB
14

15 Products.

16          72.     By their wrongful actions, these Defendants also continue to cause irreparable

17 harm to RB Products, which is not compensable in damages. Therefore, RB Products is entitled

18 to a preliminary and permanent injunction against Defendants.

19
                                             SIXTH CLAIM
20                                       (Declaratory Judgment)

21          73.     Plaintiff incorporates the above factual allegations by reference herein.
22
            74.     Plaintiff is entitled to a judicial declaration of its rights, status, and other legal
23
     relations with respect to its contracts with Defendants.
24
            75.     Specifically, RB Products is entitled to a judicial declaration that it is a 45%
25
     owner of Ryze Renewables, L.L.C.
26

27

28


                                                 - 19 -
                                               COMPLAINT
  Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 20 of 21


 1          76.    Further, RB Products is entitled to a judicial declaration that it is a 45% owner of

 2 any company Defendants formed by utilizing RB Products trade secrets, industry expertise,

 3
     knowledge, and/or know-how.
 4
            77.    RB Products is entitled to its reasonable and necessary attorney’s fees in
 5
     connection with this matter pursuant to 28 U.S.C. §2201.
 6
                                                     IV.
 7

 8                                       PUNITIVE DAMAGES

 9          78.    Given Defendants’ willful, oppressive, fraudulent, and malicious conduct, RB
10 Products is entitled to an award of punitive damages against them.

11
                                                     V.
12
                                     CONDITIONS PRECEDENT
13
            79.    All conditions precedent have been performed or have occurred.
14

15                                                   VI.

16                                             CONCLUSION

17          80.    Plaintiff prays that Defendants be commanded to appear and answer, and that
18 Plaintiff have and recover the following from them:

19
            a.     A preliminary injunction against Defendants’ wrongful conduct;
20
            b.     A permanent injunction against Defendants’ wrongful conduct;
21
            c.     Specific performance in the form of assignments of equity ownership in any
22

23 companies Defendants formed by excluding RB Products;

24          d.     Actual, compensatory damages to compensate RB Products for the damages and

25 harm it sustained in the past and future;

26
            e.     Punitive damages under the DTSA, UTSA, breaches of fiduciary duty, and fraud;
27
            f.     Attorney’s fees and costs;
28
            g.     A judicial declaration of its rights; and

                                                  - 20 -
                                                COMPLAINT
 Case 3:19-cv-00105-MMD-WGC Document 1 Filed 02/20/19 Page 21 of 21


 1          h.     Any and all other relief RB Products may be entitled to at law or in equity.

 2                                           JURY DEMAND
 3
            Plaintiff demands a trial by jury.
 4
     Dated: July 20, 2019                          ALDRICH LAW FIRM, LTD.
 5
                                                   /s/ John P. Aldrich
 6                                                 John P. Aldrich, Esq.
                                                   Nevada Bar No. 6877
 7
                                                   Catherine Hernandez, Esq.
 8                                                 Nevada Bar No. 8410
                                                   7866 West Sahara Avenue
 9                                                 Las Vegas, NV 89117
                                                   Tel (702) 853-5490
10                                                 Fax (702) 227-1975
11                                                 jaldrich@aldrichlawfirm.com

12                                                 Ashish Mahendru (pro hac to be submitted)
                                                   Darren A. Braun (pro hac to be submitted)
13                                                 MAHENDRU, P.C.
                                                   639 Heights Blvd.
14                                                 Houston, Texas 77007
15                                                 Telephone: 713-571-1519
                                                   Facsimile: 713-651-0776
16                                                 amahendru@thelitigationgroup.com
                                                   dbraun@thelitigationgroup.com
17
                                                   Attorneys for Plaintiff
18

19

20

21

22

23

24

25

26

27

28


                                                   - 21 -
                                                 COMPLAINT
